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 9
                         IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE DISTRICT OF ARIZONA
11
12   United States of America,                            CR-19-00898-PHX-DLR (DMF)
13                        Plaintiffs,
                                                    MOTION TO STRIKE DEFEDNANT’S
14            vs.                                        OBJECTION TO DRAFT
                                                      PRESENTENCE INVESTIGATION
15                                                  REPORT [DOC. 716] FOR EXCEEDING
     David Allen Harbour,                                     PAGE LIMIT
16
                           Defendants.
17
18          The United States of America, by and through its undersigned attorneys, hereby
19   respectfully moves this Court to strike the Defendant’s Objections to Draft Presentence
20   Investigation Report [Doc. 716] for exceeding the 17 page limit set forth in LRCrim 12.1,
21   incorporating LRCiv 7.2 and for failing to file a Motion to Exceed Page Limits.
22          A party must secure the Court’s permission before filing a brief that exceeds this
23   District’s page limits. Santos v. Baca, Case No. 2:11-CV-01251-KJD-NJK, 2017 WL
24   773874, at *2 (D. Nev. Feb. 28, 2017). The Defendant’s Objections to Draft Presentence
25   Investigation Report totals at 68 pages, well over the 17 page limit, and there is no
26   indication that they have sought leave from the court to exceed the page limit.
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     Case 2:19-cr-00898-DLR Document 717 Filed 05/17/23 Page 2 of 3




 1       Respectfully submitted this 17th day of May, 2023.
 2
 3                                                GARY M. RESTAINO
                                                  United States Attorney
 4                                                District of Arizona
 5                                                 s/Kevin M. Rapp
                                                  KEVIN M. RAPP
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                                CERTIFICATE OF SERVICE
 1
           I hereby certify that on May 17, 2023, I electronically transmitted the attached
 2
     document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
 3
     Notice of Electronic Filing to the following CM/ECF registrants who have entered their
 4
     appearance as counsel of record.
 5
 6    s/Daniel Parke_
     U.S. Attorney’s Office
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